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                                            Case No.: 1:24-cv-00258-KCD




JENNER TORRENCE 1

     v.                                                        NOTICE OF ECF DESIGNATION

THE UNITED STATES 2


    Pursuant to Appendix E of the Rules of the United States Court of Federal Claims, this case is
designated an ECF case in which all filings in the case are made via the court's online system for
electronic case filing (ECF System). To file documents and to receive service in the ECF System,
attorneys of record must have an ECF account. An ECF account login and password will be issued to
an attorney who is a member of the United States Court of Federal Claims bar and to a pro se litigant
only if allowed or required by court order. Information about the ECF System, including the online
registration form and ECF filing tips, is available on the court's website at
http://www.uscfc.uscourts.gov/electronic-filing.

   The following guidelines apply to all ECF cases:

   All filings in this case must be made via the ECF System, except by leave of the court in
exceptional circumstances and must be in Portable Document Format (PDF).

   Service is complete upon the filing of a document via the ECF System and will be effected by
electronic notice only to those counsel with an ECF account. To receive service of documents filed via
the ECF System, counsel must immediately obtain an ECF account if they do not have one already.
The Clerk's Office will effect service of court-issued documents in paper form for thirty (30) days
from the date of this notice if counsel has not yet obtained an ECF account. All court-issued
documents not served via the ECF System after that date will be the responsibility of counsel to obtain
through the use of a PACER account. Counsel are responsible for monitoring their e-mail accounts
and upon receipt of a notice of electronic filing, for retrieving the order or document via the ECF
System. Certificates of service for documents filed via the ECF System are not necessary unless the
document is also served outside the ECF System.




1 If the complaint in this action, as originally received in the Clerk's Office, named as a plaintiff a minor,an incompetent
person, or a deceased person, the case caption has been modified to identify as plaintiff(s) the representative(s) filing on
behalf of the minor, incompetent person or deceased person.
2 If the complaint in this action, as originally received in the Clerk's Office, named as the defendant(s) a party (parties)
other than the United States, the case caption has been modified to identify the United States as the sole defendant. This
modification has been made to conform the caption to the Rules of the United States Court of Federal Claims, which
makes clear that in this court only the United States can be named as the party defendant. See RCFC 4(a) and 10(a).
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   Counsel are on notice that no allowance can be made for the late filing of a document for
which the time limit is jurisdictional.
